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 I did ask Jose if the cash was his. If the cash was not his it would need to be tagged to evidence as found, if it was his, the
 cash would go with him. Jose stated that the cash was his.

 Jose was transported to and booked into MDC. The vehicle was towed from the scene by Macy's Towing to 106 Rio Bravo
 Blvd. My BWC was uploaded and classified. Nothing further.
 Original Narrative Owner :            2068 - Skroch, Jonathan


Narrative - use for version 002 or subsequent Case Reports


 Narrative added/updated by :




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Reported By              Skroch, Jonathan
